Case 3:10-cv-03561-WHA Document 263-2 Filed 08/01/11 Page 1 of 12




            EXHIBIT B
Case 3:10-cv-03561-WHA Document
 Case3:10-cv-03561-WHA          263-2 Filed10/27/10
                        Document36-8  Filed 08/01/11 Page1
                                                      Page 2ofof1112




                 EXHIBIT H
Case 3:10-cv-03561-WHA Document
 Case3:10-cv-03561-WHA          263-2 Filed10/27/10
                        Document36-8  Filed 08/01/11 Page2
                                                      Page 3ofof1112
Case 3:10-cv-03561-WHA Document
 Case3:10-cv-03561-WHA          263-2 Filed10/27/10
                        Document36-8  Filed 08/01/11 Page3
                                                      Page 4ofof1112
Case 3:10-cv-03561-WHA Document
 Case3:10-cv-03561-WHA          263-2 Filed10/27/10
                        Document36-8  Filed 08/01/11 Page4
                                                      Page 5ofof1112
Case 3:10-cv-03561-WHA Document
 Case3:10-cv-03561-WHA          263-2 Filed10/27/10
                        Document36-8  Filed 08/01/11 Page5
                                                      Page 6ofof1112
Case 3:10-cv-03561-WHA Document
 Case3:10-cv-03561-WHA          263-2 Filed10/27/10
                        Document36-8  Filed 08/01/11 Page6
                                                      Page 7ofof1112
Case 3:10-cv-03561-WHA Document
 Case3:10-cv-03561-WHA          263-2 Filed10/27/10
                        Document36-8  Filed 08/01/11 Page7
                                                      Page 8ofof1112
Case 3:10-cv-03561-WHA Document
 Case3:10-cv-03561-WHA          263-2 Filed10/27/10
                        Document36-8  Filed 08/01/11 Page8
                                                      Page 9ofof1112
Case 3:10-cv-03561-WHA Document
 Case3:10-cv-03561-WHA          263-2 Filed
                        Document36-8        08/01/11 Page9
                                      Filed10/27/10  Page 10
                                                           of of
                                                              1112
Case 3:10-cv-03561-WHA Document
 Case3:10-cv-03561-WHA          263-2 Filed10/27/10
                        Document36-8  Filed 08/01/11 Page10
                                                      Page 11ofof1112
Case 3:10-cv-03561-WHA Document
 Case3:10-cv-03561-WHA          263-2 Filed10/27/10
                        Document36-8  Filed 08/01/11 Page11
                                                      Page 12ofof1112
